            Case 1:10-vv-00519-UNJ Document 57 Filed 09/05/14 Page 1 of 8




                 In the United States Court of Federal Claims
                                     OFFICE OF SPECIAL MASTERS
                                             No. 10-519V
                                          (Not to be published)

*************************
RENE G. POWERS, as Fiduciary of the       *
Estate of MARTIN POWERS,                  *
                                          *       Filed: August 7, 2014
                     Petitioner,          *
                                          *       Decision by Stipulation; Damages;
              v.                          *       Influenza (Flu) Vaccine; Guillain-
                                          *       Barré syndrome (GBS);
                                          *       Attorneys’ Fees & Costs
SECRETARY OF HEALTH AND                   *
HUMAN SERVICES,                           *
                                          *
                     Respondent.          *
                                          *
*************************
Diana S. Sedar, Maglio, Christopher & Toale, Sarasota, FL, for Petitioner.

Lisa A. Watts, U.S. Dep’t of Justice, Washington, DC, for Respondent.

               DECISION AWARDING DAMAGES AND ATTORNEYS’ FEES 1

        On August 5, 2010, Petitioner Martin Powers filed an action seeking compensation under
the National Vaccine Injury Compensation Program (the “Vaccine Program”) 2. Petitioner alleges
that he suffered Guillain-Barré syndrome (“GBS”) as a result of receiving an influenza (“flu”)
vaccine. Mr. Powers died on March 8, 2012 from causes unrelated to the vaccine injury, and his

1
  Because this decision contains a reasoned explanation for my action in this case, it will be posted on the United
States Court of Federal Claims’ website, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, §
205, 116 Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by 42 U.S.C. §
300aa-12(d)(4)(B), however, the parties may object to the decision’s inclusion of certain kinds of confidential
information. Specifically, under Vaccine Rule 18(b), each party has 14 days within which to request redaction “of
any information furnished by that party: (1) that is a trade secret or commercial or financial in substance and is
privileged or confidential; or (2) that includes medical files or similar files, the disclosure of which would constitute
a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b). Otherwise, the whole decision will be available to
the public. (Id.)
2
  The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood Vaccine
Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C.A. ' 300aa-10-' 300aa-34
(West 1991 & Supp. 2002). All citations in this decision to individual sections of the Vaccine Act are to 42 U.S.C.A.
' 300aa.
           Case 1:10-vv-00519-UNJ Document 57 Filed 09/05/14 Page 2 of 8



spouse and executor of his estate, Rene G. Powers, was substituted as Petitioner on May 29,
2012.

        Respondent denies that Mr. Powers’ GBS or any related medical problems were caused
by his receipt of the flu vaccine. Nonetheless both parties, while maintaining their above-stated
positions, agreed in a stipulation filed August 7, 2014 that the issues before them can be settled,
and that a decision should be entered awarding Petitioner compensation.

        I have reviewed the file, and based upon that review, I conclude that the parties’
stipulation is reasonable. I therefore adopt it as my decision in awarding damages on the terms
set forth therein.

        The stipulation awards:

                a) A lump sum of $100,000.00, in the form of a check payable to petitioner as the
                   executor of the estate of Martin Powers. This amount represents compensation
                   for all damages that would be available under 42 U.S.C. §300aa-15(a).

Stipulation ¶ 9(a).

       The parties further set forth in their August 7th stipulation that they had reached the
following agreement with respect to attorney’s fees and costs:

                b) A lump sum of $28,322.17 in the form of a check payable jointly to petitioner
                   and petitioner’s attorney, Diana S. Sedar, Esq., for [all] attorneys’ fees and
                   costs available under 42 U.S.C. § 300aa-15(e).

Stipulation ¶ 9(b). 3

        I approve a Vaccine Program award in the requested amount set forth above to be made
to Petitioner. In addition, I also approve of the attorneys’ fees and costs in the requested amount
to be made payable to Petitioner and Petitioner’s counsel. In the absence of a motion for review
filed pursuant to RCFC Appendix B, the clerk of the court is directed to enter judgment
herewith. 4




3
  Paragraph 9(b) of the stipulation also contained a statement in accordance with General Order #9 of the Vaccine
Program indicating that Petitioner had incurred no reimbursable costs in pursuit of his claim.
4
  Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by jointly (or separately) filing
notice(s) renouncing their right to seek review.

                                                       2
 Case 1:10-vv-00519-UNJ Document 57 Filed 09/05/14 Page 3 of 8



IT IS SO ORDERED.

                                      /s/ Brian H. Corcoran
                                         Brian H. Corcoran
                                         Special Master




                               3
Case 1:10-vv-00519-UNJ Document 57 Filed 09/05/14 Page 4 of 8
Case 1:10-vv-00519-UNJ Document 57 Filed 09/05/14 Page 5 of 8
Case 1:10-vv-00519-UNJ Document 57 Filed 09/05/14 Page 6 of 8
Case 1:10-vv-00519-UNJ Document 57 Filed 09/05/14 Page 7 of 8
Case 1:10-vv-00519-UNJ Document 57 Filed 09/05/14 Page 8 of 8
